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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION
IN RE GEORGIA SENATE BILL 202                           Master Case No.:
                                                        1:21-MI-55555-
                                                        JPB

GEORGIA STATE CONFERENCE OF THE
NAACP, et al.,
                 Plaintiffs,
                                                        Civil Action No.:
                      v.                                1:21-cv-01259-
                                                        JPB
BRAD RAFFENSPERGER, in his official
capacity as the Secretary of State for the
State of Georgia, et al.,

                              Defendants,

REPUBLICAN NATIONAL COMMITTEE, et al.,

                              Intervenor-Defendants.

SIXTH DISTRICT OF THE AFRICAN
METHODIST EPISCOPAL
CHURCH,
et al.,
                   Plaintiffs,                          Civil Action No.:
              v.                                        1:21-cv-01284-JPB
BRIAN KEMP, Governor of the State of
Georgia, in his official capacity, et al.,

                              Defendants,

REPUBLICAN NATIONAL COMMITTEE, et al.,

                               Intervenor-Defendants.


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                                     INTRODUCTION
      Plaintiffs in these consolidated cases challenge Senate Bill 202 (“S.B. 202”),

a suite of unjustifiably onerous, discriminatory elections laws that violate the United

States Constitution and other federal laws. At issue here are two First Amendment

challenges to S.B. 202’s criminal ban on providing relief to voters waiting in line,

including food, seating, umbrellas, or water.1 These claims are alleged against the

Georgia Governor, Secretary of State, and State Election Board (“State

Defendants”), as well as the boards of election and registration for certain counties

in Georgia (“County Defendants”), all in their official capacities.

      State Defendants previously moved to dismiss Plaintiffs’ claims, in part on

the ground that certain of Plaintiffs’ injuries were neither traceable to nor redressable

by State Defendants. This Court rejected that argument and denied the motions to

dismiss. State Defendants now move the Court to reconsider those orders insofar as

they held that Plaintiffs have standing to sue State Defendants to challenge the

constitutionality of S.B. 202’s criminal ban on line relief. But State Defendants point


      1
         The two cases relevant to State Defendants’ motion and this brief in
opposition are Sixth District of African Methodist Episcopal Church v. Kemp, No.
21-cv-1284 (“AME”), and Georgia State Conference of the NAACP v.
Raffensperger, No. 21-cv-1259 (“GA NAACP”). Plaintiffs in New Georgia Project
v. Raffensperger, No. 21-cv-1229, separately address the motion for reconsideration
as to their standing to bring a First Amendment claim challenging S.B. 202 as a
whole.
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to no change in the law, clear error, or manifest injustice that warrants such an

extraordinary remedy.

      State Defendants purport to base their motion for reconsideration on the

Supreme Court’s recent decision in Whole Woman’s Health v. Jackson, 142 S. Ct.

522 (2021). In Whole Woman’s Health, however, the Supreme Court considered a

law that does not allow state officials to bring any prosecutions or civil enforcement

actions but instead intentionally created only a right of action for private citizens.

Id. at 530. It is irrelevant to this challenge to Georgia’s election laws that are

coordinated and enforced by State Defendants. If anything, Whole Woman’s Health

supports the same long-standing legal principle that this Court applied to deny State

Defendants’ motions to dismiss: that plaintiffs have standing to sue to enjoin state

actors who are sufficiently connected to the laws that cause injury. The State

Defendants’ arguments—which have nothing to do with Whole Woman’s Health,

and instead simply rehash rejected contentions—do not call into question the Court’s

well-reasoned orders. See L.R 7.2(E) (permitting a motion for reconsideration only

when “absolutely necessary”).

      Nor is reconsideration necessary to avert any manifest injustice. State

Defendants do not contest that they are appropriate defendants as to Plaintiffs’ other

claims, nor that both they and the two claims at issue (which Plaintiffs also allege

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against County Defendants) will remain in this action regardless of the Court’s

decision on their motion for reconsideration. State Defendants will thus suffer no

additional burden at this stage if the claims at issue in their motion proceed against

them. The motion accordingly fails to raise any grounds sufficient to award

reconsideration, and it must be denied.

      State Defendants’ alternative request to certify the standing question for

interlocutory appeal pursuant to 28 U.S.C. § 1292(b) should also be denied. Such

an appeal is extraordinary and only warranted when necessary to “materially

advance the ultimate termination of the litigation” by resolving “controlling

questions of law” for which there is “substantial ground for difference of opinion.”

28 U.S.C. § 1292(b). The standing question at issue here does not meet this standard.

The issues in the proposed appeal are not purely legal. Indeed, the Eleventh Circuit

has already held that the question of redressability in election litigation involves the

application of law to facts and is therefore unsuitable for interlocutory appeal. Nor

would an interlocutory appeal hasten resolution of this dispute. Even if the Eleventh

Circuit were to reverse, that decision would have no practical effect. Every party

and every claim in this case would remain. The claims at issue in State Defendants’

motion would remain as to County Defendants, and State Defendants would remain

to defend against Plaintiffs’ other claims. Far from materially advancing the

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litigation, the proposed interlocutory appeal would only delay ultimate resolution of

Plaintiffs’ time-sensitive claims.              State Defendants’ alternative motion for

certification for immediate appeal must therefore be denied as well.

                                      BACKGROUND
      State Defendants have already unsuccessfully moved to dismiss Plaintiffs’

claims. They argued, among other things, that Plaintiffs did not have standing

because their injuries were, as a matter of law, “not traceable to State Defendants,”

GA NAACP, Doc. No. 42-1 at 8, and “outside the scope of State Defendants’

authority and, thus, this Court’s capacity to redress,” AME, Doc. No. 87-1 at 9.

      This Court rejected those arguments. Specifically, this Court held:

              The injuries Plaintiffs allege are directly traceable to SB
              202, for which both State and County Defendants have
              enforcement responsibility. Although State Defendants
              argue that certain provisions of SB 202 are handled at the
              county level, that does not necessarily mean that they lack
              enforcement authority with respect to those provisions.
Order at 11, GA NAACP, Doc. No. 64 (Dec. 9, 2021) (“GA NAACP Order”); see

also Order at 12, AME, Doc. No. 110 (Dec. 9, 2021) (“AME Order”) (“The injuries

Plaintiffs allege are directly traceable to SB 202, for which … State Defendants,

including the Governor, have enforcement responsibility.”) (collectively, the

“Orders”).



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         State Defendants now move for reconsideration of the Court’s Orders as to

Plaintiffs’ First Amendment challenges to a provision of S.B. 202 that criminalizes

providing relief to voters waiting in line. See Mot. for Recon. at 2-3; State Defs. Br.

at 9; First Am. Compl., Count IV ¶¶ 342-48, AME, Doc. No. 83 (May 24, 2021);

Am. Compl., Count V ¶¶ 223-32, GA NAACP, Doc. No. 35 (May 28, 2021). State

Defendants do not raise any other challenges to the Court’s Orders upholding

Plaintiffs’ other causes of action.

                                           ARGUMENT
I.       State Defendants’ Motion For Reconsideration Should Be Denied
         State Defendants have shown no reason why the Court should reconsider its

holding that Plaintiffs’ injuries are traceable to and redressable by State Defendants.

Relief through a motion for reconsideration is “an extraordinary remedy” to be

“employed sparingly.” Ctr. for Biological Diversity v. Hamilton, 385 F. Supp. 2d

1330, 1337 (N.D. Ga. 2005); see also L.R 7.2(E) (providing that “[m]otions for

reconsideration shall not be filed as a matter of routine practice,” but only when

“absolutely necessary”). Such motions “should be reserved for extraordinary

circumstances, such as the discovery of new evidence, an intervening development

or change in the law, or the need to correct a clear error or prevent a manifest

injustice.” Adler v. Wallace Computer Servs., Inc., 202 F.R.D. 666, 675 (N.D. Ga.


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2001). They should not be used “to present the court with arguments already heard

and dismissed or to repackage familiar arguments to test whether the court will

change its mind.” Bryan v. Murphy, 246 F. Supp. 2d 1256, 1259 (N.D. Ga. 2003).

      But that is precisely what State Defendants have done here. State Defendants

point to no intervening change in the law; establish no need to correct any error, or

even that the Court erred (much less clearly erred); and show no manifest injustice

arising from the Court’s Orders. They merely repackage the same failed arguments,

hoping for a different result. The Court should once again reject those arguments

and deny State Defendants’ motion for reconsideration.

      A.      Whole Woman’s Health Is Not An Intervening Change In The Law
              And Does Not Suggest That This Court’s Decision Was Erroneous
              Or Unjust

      To avoid the obvious conclusion that their motion for reconsideration simply

rehashes arguments the Court has already rejected, State Defendants purport to rely

on the Supreme Court’s decision in Whole Woman’s Health v. Jackson, 142 S. Ct.

522 (2021), issued the day after this Court’s Orders on the motions to dismiss. But

that case—which addressed a statute intentionally designed to be entirely

disconnected from all state actors—did not change the law relevant to this case,

which addresses a complex voting system in which State Defendants play an integral

enforcement role. Nothing in Whole Woman’s Health suggests that this Court’s


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decisions were erroneous, much less clearly erroneous or manifestly unjust. In fact,

State Defendants concede that the well-established authorities that this Court

considered and applied are fully consistent with Whole Woman’s Health and “not to

the contrary.” Mot. at 1 (emphasis added).

      Whole Woman’s Health involved a challenge to S.B. 8, a Texas law that

prohibits physicians from performing abortions if they detect a fetal heartbeat. 142

S. Ct. at 530. As the Supreme Court observed, S.B. 8 “generally does not allow state

officials to bring criminal prosecutions or civil enforcement actions.” Id. Instead, it

empowers all private citizens to sue anyone who performs or assists such abortions.

Id. Health care providers sought an injunction barring, among others, the Texas

attorney general from enforcing the law. Id. The Supreme Court rejected the claim

against the attorney general in part because the petitioners did “not direct this Court

to any enforcement authority the attorney general possesses in connection with S. B.

8 that a federal court might enjoin him from exercising.” Id. at 534.

      Whole Woman’s Health provides no basis for the Court to reconsider its well-

reasoned Orders. The Supreme Court addressed a statute that, by design, completely

precludes any involvement by state officials and instead transfers enforcement

authority to private citizens. Id. at 530. The Supreme Court held that the attorney



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general has no relationship with S.B. 8, indirect or otherwise, and therefore held that

he was an inappropriate defendant.

      That holding is perfectly consistent with this Court’s Orders. Far from finding

that State Defendants had no connection to the challenged election laws, the Court

held that the “injuries Plaintiffs allege are directly traceable to SB 202, for which

County and State Defendants, including the Governor, have enforcement

responsibility.” AME Order 12. State Defendants concede that the cases on which

the Court relied “are not to the contrary,” Mot. at 1, as those cases also recognized

that plaintiffs have standing to sue state actors only where those state actors have a

sufficient connection to the challenged laws or policies. See Luckey v. Harris, 860

F.2d 1012, 1015 (11th Cir. 1988) (permitting suit against the governor where he was

“responsible for the challenged action”); Georgia Latino All. for Hum. Rts. v.

Governor of Ga., 691 F.3d 1250, 1260 n. 5 (11th Cir. 2012) (finding “sufficient,

albeit indirect, contact with the program’s enforcement” to establish traceability and

redressability). Those cases, like the Court’s Orders, are consistent with Whole

Woman’s Health. See also Mot. at 1-2, 4-6 (discussing how the rule applied in these

cases, and the Court’s Orders, is consistent with Whole Woman’s Health).

      Whole Woman’s Health thus did not work an intervening change in the

relevant law. Nor does Whole Woman’s Health establish that the Court’s Orders

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were clearly erroneous or manifestly unjust, as it dealt with a law that bears no

similarity to S.B. 202 and its line relief ban. State Defendants do not meaningfully

argue otherwise. They simply argue that the Court’s Orders were incorrect under

well-established legal principles. That is an insufficient basis for obtaining the

extraordinary remedy that State Defendants seek.

      B.      This Court Did Not Err In Holding That Plaintiffs’ Injuries Are
              Traceable To And Redressable By State Defendants
      If the Court were to revisit the merits of State Defendants’ argument, it should

reach the same conclusion. State Defendants—unlike the Texas attorney general in

Whole Woman’s Health, and as this Court has already held—have a clear connection

to the injuries caused by S.B. 202’s criminal ban on line relief. They are therefore

proper defendants as to these claims challenging that ban. This Court did not err—

clearly or otherwise—in allowing these claims to proceed against State Defendants.

      As this Court already recognized, State Defendants’ connection to the

challenged provisions is similar to the defendants’ connection to the challenged

provisions in Luckey and Georgia Latino Alliance. See GA NAACP Order 10-11;

AME Order 11-12. In fact, State Defendants’ connection to S.B. 202 is even greater

than in Luckey and Georgia Latino Alliance. For example, the Secretary of State’s

extensive training, public education, and oversight obligations, see O.C.G.A. § 21-

2-50(a), apply to the line relief ban enacted as part of S.B. 202. Absent a court ruling
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binding the Secretary of State, he is free to exercise those broad statutory powers as

though the line relief ban were constitutional. Likewise, the State Election Board,

of which the Secretary of State is a member, is “vested with the power to … direct[]

compliance” with the voting laws, including the line relief ban. O.C.G.A. § 21-2-

33.1(a). Indeed, S.B. 202 specifically empowers the Board to, on its own initiative,

investigate and “suspend county or municipal superintendents and appoint an

individual to serve as the temporary superintendent in a jurisdiction.” S.B. 202 §§ 6,

7; O.C.G.A. §§ 21-2-33.2(a)-(b), 21-2-33.1(f). Those temporary appointments

become permanent absent a successful petition for reinstatement, which is heard by

the Board. S.B. 202 § 7; O.C.G.A. § 21-2-33.2(f). Given this comprehensive

authority under state law, the Court did not err when it held that Plaintiffs’ injuries

are traceable to and redressable by State Defendants.

      Georgia Latino Alliance also directly forecloses State Defendants’ argument

that the governor is an improper defendant. 2 There, the governor argued that an

injunction against him would “not redress the harm to Plaintiffs” because he

“lack[ed] enforcement authority” over the challenged law, which criminalized

certain interactions with noncitizens. 691 F.3d at 1260 n. 5. The court rejected that

contention and was “easily satisfied” that the causation and redressability standards


      2
          Only the AME Plaintiffs have alleged this claim against the governor.
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were met. Id. at 1260. State Defendants here likewise argue that an injunction

against the governor will not redress Plaintiffs’ harms because he lacks immediate

enforcement authority over a law criminalizing line relief. As the Court already

recognized, that argument fails. 3

      The arguments in State Defendants’ motion for reconsideration remain

unavailing. State Defendants rely on Jacobson v. Florida Secretary of State, 957

F.3d 1193 (11th Cir. 2020). There, the Eleventh Circuit found, after discovery and

a trial, that the plaintiffs did not have standing to sue the Florida Secretary of State

because, “under Florida law,” the local officials tasked with the narrow

responsibility at issue were not “subject to the Secretary’s control,” and the plaintiffs

“fail[ed] to join the [local officials] as defendants.” Id. at 1207.

      But this case involves Georgia law. And, unlike Florida law, Georgia law

vests State Defendants with significant enforcement powers under and related to

S.B. 202. Prime among them is the power to directly replace officials they believe

are not complying with S.B. 202. Cf. Jacobson, 957 F.3d at 1207-08 (relying on the

facts that “only the Governor of Florida, not the Secretary, may suspend county



      3
       The State Defendants’ reliance on Women’s Emergency Network v. Bush,
323 F.3d 937 (11th Cir. 2003), and Lewis v. Governor of Ala., 944 F.3d 1287, 1301
(11th Cir. 2019), is misplaced, as those cases did not involve enforcement of a
criminal law.
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officials, and only the senate may remove them from office,” while the Florida

Secretary of State “must resort to judicial process if the Supervisors fail to perform

their duties”). That includes the power to replace local officials who State

Defendants believe fail to enforce the criminal ban against line relief. There also

has yet to be any formal discovery in this case. “The facts … played a role in

evaluating redressability” in Jacobson, “and they could also play a role here.”

Pearson v. Kemp, 831 F. App’x 467, 473 & n. 1 (11th Cir. 2020). Moreover, unlike

in Jacobson, Plaintiffs here have sued local officials. Plaintiffs simply seek to also

bind State Defendants so that they cannot enforce S.B. 202’s unconstitutional

commands through their expansive regulatory authority and power to train,

investigate, sanction, and replace local officials.

       None of the cases cited by State Defendants demonstrate that the Court

clearly erred when it held that Plaintiffs’ injuries from the line relief ban are traceable

to and redressable by State Defendants. Because State Defendants have pointed to

no intervening change in the law and failed to establish that there was any error (clear

or otherwise) in the Court’s original orders, the Court should deny their motion for

reconsideration.




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      C.      State Defendants Have Not Shown Manifest Injustice Or A Need
              To Immediately Correct Any Error
      State Defendants have also failed to show any need for this Court to revisit its

prior Orders and issue this extraordinary relief. State Defendants do not contest that

they are appropriate defendants as to the rest of Plaintiffs’ claims. State Defendants

will therefore remain in this action through discovery and trial regardless of the

Court’s decision on their motion. Likewise, Plaintiffs’ two First Amendment

challenges to the line relief ban will remain in the case, as those claims are also

alleged against County Defendants. Denial of the motion for reconsideration will

therefore impose no additional burdens on either the Court or State Defendants.

      State Defendants are free to renew their standing arguments at summary

judgment or trial. The Court can address the issue then, with the benefit of all

relevant evidence. If the evidence demonstrates that State Defendants do play a role

in enforcing the challenged provisions—as Plaintiffs have alleged and as the Court

has held—then their continued presence as defendants with respect to these two

claims will allow the Court to ultimately grant fulsome relief and prevent

enforcement of an unconstitutional law.

      State Defendants had an opportunity to make these standing arguments in

moving to dismiss Plaintiffs’ claims. They did so, and the Court ruled against them.

Nothing has changed since those Orders. Reversal now would not lead to any gains
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in efficiency or prevent any injustice. Immediate relief is therefore not “absolutely

necessary.” L.R 7.2(E). In short, State Defendants have shown no “extraordinary

circumstances, such as the discovery of new evidence, an intervening development

or change in the law, or the need to correct a clear error or prevent a manifest

injustice.” Adler, 202 F.R.D. at 675. The Court should therefore deny their motion

for reconsideration.

II.   State Defendants’ Alternative Motion For Certification For Immediate
      Appeal Should Be Denied
      “Certification under § 1292(b) is an extraordinary measure, which is permitted

only in exceptional circumstances.” Consumer Fin. Prot. Bureau v. Frederick J.

Hanna & Assocs., 165 F. Supp. 3d 1330, 1334 (N.D. Ga. 2015). To “establish a

right to interlocutory appeal” under that provision, a requesting party carries the

“burden to make” three showings: that the requested appeal (1) concerns a

“controlling question of law,” (2) involves a question on which there is “substantial

ground for difference of opinion,” and (3) would “materially advance the ultimate

termination of the litigation.” Monroe Cnty. Emp. Ret. Sys. v. Southern Co., 333 F.

Supp. 3d 1315, 1327-28 (N.D. Ga. 2018) (cleaned up) (quoting 28 U.S.C. § 1292(b)).

None of the three required elements is met here.

      First, the requested appeal does not raise a question of law susceptible to

interlocutory appeal. Section 1292(b) only permits appeals that raise “pure or
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abstract legal question[s],” not the application of established legal premises to

specific facts. McFarlin v. Conseco Servs., LLC, 381 F.3d 1251, 1262 (11th Cir.

2004). In Pearson, the Eleventh Circuit rejected a materially identical request for

interlocutory appeal about whether certain state actors were “the proper defendants

to redress the plaintiffs’ alleged injuries.”        831 F. App’x at 473.       Because

“redressability in … election litigation” turns on the application of law to facts, the

appeal asked the court “to apply settled law to the facts or evidence of this particular

case,” and so was “the antithesis of a proper § 1292(b) appeal.” Id. (cleaned up)

(quoting McFarlin, 381 F.3d at 1259). The Court should reject the requested

interlocutory appeal here for the same reason.

      Second, for the reasons outlined in Section I above, there is no substantial

ground for difference of opinion. As the Court has already held, Plaintiffs have

standing to seek injunctive relief from State Defendants. The Court’s Orders

faithfully applied this circuit’s precedent and are fully consistent with the Supreme

Court’s decision in Whole Woman’s Health. “Defendants’ mere disagreement” with

the Orders “does not show the existence of a substantial ground for difference of

opinion as a matter of law.” Reid v. Viacom Int’l Inc., 2017 WL 11634619, at *11

(N.D. Ga. Sep. 22, 2017).



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      Third, certification “would do too little, if anything, to materially advance the

ultimate termination of the litigation” because, no matter how an appeal is resolved,

all the same parties and legal issues will remain for discovery and trial. McFarlin,

381 F.3d at 1259, 1262 (interlocutory appeal improper when it would only resolve

“one claim out of seven” and would not “serve to avoid a trial or otherwise

substantially shorten the litigation” (cleaned up)). Courts in the Eleventh Circuit

have therefore consistently rejected requests for interlocutory appeal pursuant to

§ 1292(b) when “the same parties and issues would remain before the Court

regardless of the resolution of issues on appeal.” Morrison v. City of Bainbridge,

2009 WL 10674438, at *3 (M.D. Ga. Dec. 1, 2009); see also, e.g., Boyd v. Rich,

2005 WL 8157204, at *3 (S.D. Ga. Dec. 2, 2005) (denying certification where,

regardless of the outcome, “the parties and the key issue … will remain the same”);

Savaseniorcare, LLC v. Starr Idem. & Liab. Co., 2020 WL 6782049, at *4 (N.D. Ga.

Nov. 18, 2020) (appeal improper where, “no matter the result, the parties would still

be required to complete fact and expert discovery, brief dispositive motions, and

potentially proceed to trial”).

      In this respect, determining whether an appeal would materially advance the

ultimate termination of litigation overlaps with the “controlling question” inquiry,

which “operate[s] in the same way.” Consumer Fin. Prot. Bureau, 165 F. Supp. 3d

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at 1334. As a general rule, “there is little doubt that a question is not controlling if

the litigation would be conducted in the same way no matter how it were decided.”

16 C. Wright & A. Miller, et al., Fed. Prac. & Proc. § 3930 (3d ed. 2002) (citing

cases). For example, in a decision that the Eleventh Circuit has cited favorably, see

McFarlin, 381 F.3d at 1259, a federal district court denied certification of a standing

question because “even if the issue of standing … were resolved in [the putative

appellant’s] favor, no factual issue or litigant would be removed from the case,”

Ashmore v. Northeast Petroleum Div., 855 F. Supp. 438, 440 (D. Me. 1994).

      So too here. State Defendants seek to certify for appeal the issue of whether

Plaintiffs’ injuries as to just two of their multiple claims are traceable to and

redressable by State Defendants. Were the Court to certify that question and State

Defendants to win, every single party and claim in this case would still remain. State

Defendants would remain in the case to defend against Plaintiffs’ other claims. And

the two claims at issue in State Defendants’ proposed appeal would remain as against

County Defendants. Contrary to State Defendants’ argument, it is “reasonable to

expect” that Plaintiffs’ other claims “will implicate many of the same discovery

issues,” such that “the litigation will not be significantly narrowed or shortened.”

Consumer Fin. Prot. Bureau, 165 F. Supp. 3d at 1339-40.                “A detour” of

indeterminate duration “to the Eleventh Circuit,” as State Defendants propose, “is

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not likely to advance this” litigation at all, and if anything, “it is likely to delay it.”

Id. 4

        No grounds support the requested interlocutory appeal, and the Court should

deny the motion in this respect as well.

                                       CONCLUSION
        For these reasons, State Defendants’ motion for reconsideration or, in the

alternative, certification for immediate appeal, should be denied.




        Moreover, (i) State Defendants have not moved to stay discovery during the
        4

pendency of this motion, (ii) no such stay would be warranted or workable given the
limited nature of State Defendants’ proposed appeal, and (iii) Section 1292(b) would
not automatically stay discovery even if the Court were to grant the requested
interlocutory appeal. Thus, as a practical matter, interlocutory appeal would only
waste the Court’s and the parties’ resources, as discovery on Plaintiffs’ claims may
well be complete by the time the Eleventh Circuit reaches a decision.
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                         CERTIFICATE OF COMPLIANCE
      I hereby certify that the foregoing document has been prepared in accordance

with the font type and margin requirements of L.R. 5.1, using font type of Times

New Roman and a point size of 14.


Dated: January 20, 2022                         /s/ Tania Faransso
                                                Tania Faransso


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      I hereby certify that on January 20, 2022, I electronically filed this document

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Dated: January 20, 2022                         /s/ Tania Faransso
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